          Case 5:15-cr-00030-RH       Document 227           Filed 05/13/16       Page 1 of 5
                                                                                                Page 1 of 5



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA
                                PANAMA CITY DIVISION

UNITED STATES OF AMERICA

-vs-                                                   Case # 5:15cr30-004


JOSE ALVARO TRUJILLO-SANTIZ                            USM # 23572-017

                                                       Defendant’s Attorney:
                                                       Jonathan W. Dingus (Appointed)
                                                       527 Jenks Avenue
                                                       Panama City, Florida 32405


___________________________________

                             JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Count 1 of the indictment on February 29, 2016. Accordingly,
IT IS ORDERED that the defendant is adjudged guilty of such count which involve the following
offense:


       TITLE/SECTION              NATURE OF                     DATE OFFENSE             COUNT
          NUMBER                   OFFENSE                       CONCLUDED




 18 U.S.C. § 371        Conspiracy to Transport An              August 31, 2015             1
                        Individual in Interstate
                        Commerce to Engage in
                        Prostitution; or Induce,
                        Persuade, or Entice An
                        Individual to Travel In Interstate
                        Commerce to Engage in
                        Prostitution; or To keep or
                        Maintain, or Harbor In Any
                        House/Place for the Purpose of
                        Prostitution An Alien In
                        Pursuance of Importation



The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

Counts 13, 23, and 29 are dismissed on the motion of the United States.


Case No. 5:15cr30-004
          Case 5:15-cr-00030-RH      Document 227        Filed 05/13/16     Page 2 of 5
                                                                                          Page 2 of 5




IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.



                                     Date of Imposition of Sentence:
                                     May 12, 2016


                                     s/Robert L. Hinkle
                                     United States District Judge
                                     May 13, 2016




Case No. 5:15cr30-004
          Case 5:15-cr-00030-RH   Document 227     Filed 05/13/16   Page 3 of 5
                                                                                  Page 3 of 5



                                   IMPRISONMENT


     The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for a term of 18 months.

         No term of supervised release imposed.

         The defendant is remanded to the United States Marshal.


                                      RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                  __________________________________
                                  UNITED STATES MARSHAL


                                  By:__________________________________
                                        Deputy U.S. Marshal




Case No. 5:15cr30-004
          Case 5:15-cr-00030-RH         Document 227         Filed 05/13/16       Page 4 of 5
                                                                                                Page 4 of 5



                               CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).


                 SPECIAL                                   FINE                 RESTITUTION
           MONETARY ASESSEMENT
                  $100.00                                   -0-                        -0-


                            SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed.

No fine imposed.




Case No. 5:15cr30-004
          Case 5:15-cr-00030-RH           Document 227          Filed 05/13/16       Page 5 of 5
                                                                                                    Page 5 of 5



                                    SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties

Payment of the total fine and other criminal monetary penalties shall be due as follows:

in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.

The defendant shall forfeit the defendant’s interest in the following property to the United States:




Case No. 5:15cr30-004
